Case 1:03-cv-11111-DKW-KJM Document1-13  Filed@1/01/03 Page 1 of 25
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CIVIL. DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS) HUMAN RIGHTS LITIGATION pocket No MDL 840 _
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» Jun 3 9783 (PROOF of Claim Ferm For Summary Execution Victims by Mama $. Get by Get 5S,
: : Kapimping
9784 PROOF of Claim Form For Summary Execution Victims by Mudsol Akoy by Maydualaga
Akoy .
‘9785 PROOF of Claim Form For Summary Execution Victims by Jasomana Sandigo by Masingan
i : Lasamana
9785 PROOF of Claim Form For Summary Execution Victims by Madi Makmad by Lacariya
Makmod
9787 (PROOF of Claim Form For Summary Execution Victims by Karatuan Sangkat by Sangkat
: Sumimba
9788 PROOF of Claim Form For Summary Execution Victims by Hadji Lindi Taib by Salik
Taib
9789 PROOF of Claim Form For Summary Execution Victims by Karibay Labing by Gary
Baliwan
9790 PROOF of Claim Form For Summary Execution Victims by Daila U. Teka by Sarah U.
i Matucan

9791 PROOF of Claim Form For Summary Execution Victims by Sali Samat by Gatok Samat
9792 PROOF of Claim Form For Summary Execution Victims by Samuel Samuyag by Erlinda

Samuyag
9793 PROOF of Claim Form For Summary Execution Victims by Pio Pontalan by Florencia
Pontalan
9794 IPROOF of Claim Form For Summary Execution Vietims by Eleuterio Gauran by Lilona
Gauran
4 9795 PROOF of Claim Form For Torture Victims by Colas Omas; Deceased by Aqulino Gbeda

9796 (PROOF of Claim Form For Torture Victims by Elpedio Mahusay
9797 (PROOF of Claim Form For Torture Victims by Jose CG. Lucero, Sr., Deceased by Angeles
E. Lucero

9798 PROOF of Claim Form For Torture Victims by Ramil Mamalinta
9799 [PROOF of Claim Form For Torture Victims by 3uka Mamalindas
9800 PROOF of Claim Form For Torture Victims by Laguiaman Usman, Deceased by Matalib

Usman eS
9801 (PROOF of Claim Form For Torture Victims by Kamaludin Kanakan

9802 PROOF of Claim Form For Torture Victims by Guillermo Banggued

9803 PROOF of Claim Form For Torture Victims by Usman Gunsa

9804 PROOF of Claim Form For Torture Victims by Abpet Palawan

9805 [PROOF of Claim Form For Torture Victims by Mamalaguia Abdulgani

9806 PROOF of Claim Form For Torture Victims by Pedro A. Tan, Deceased b y Benjie Tan
9807 PROOF of Claim Form For Torture Victims by Genaro C. Gines

9808 [PROOF of Claim Form For Torture Victims by Alberto Suguitan

9809 PROOF of Claim Form For Torture Victims by Monagada Dimasangkay, Deceased by Datu
Laguiah Dimansangkay

9310 PROOF of Claim Form For Torture Victims by Balabagan U. Kabukatan, Deceased by
Sukarmo Kabugatan

9811 PROOF of Claim Form For Torture Victims by Sadida D. Dimalen, Deceased by Zahira
D. Dimaien

9812 PROOF of Claim Form For Torture Victims by Budta Datueali

9813 PROOF of Claim Form For Torture Victims by Zacaria Engeongan

9814 PROOF of Claim Form For Torture Victims by Gampong Makalilay

9815 PROOF of Claim Form For Torture Victims by Linggayan Kalimbulan, Deceased by Kamadspo
Kalimbulan

See Page 322

Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed-01/01/03 Page 2 of 25
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CIVIL DOCKET CONTINUATION SHEET
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| PAGE R2I0F PAGES
DATE NR. PROCEEDINGS
1999
Jun 4 9816 | PROOF of Claim Form For Torture Victims by Danilo Redolosa, Deceased by Janice
Redolosa
9817 PROOF of Claim Form For Torture Victims by Manrice Grayda
9818 | PROOF of Claim Form For Torture Victims by Anecito Tabera, Deceased by Visitacion
Tabera
9819 PROOF of Claim Form For Torture Victims by Nelson R. Badulid
$820 PROOF of Claim Form For Torture Victims by Ricarda 8. Calubid, Deceased by Lourded
@ Calubid~Badulid
9821 ; PROOF of Claim Form For Torture Victims by Lourdes C. Badulid

9822 |PROOP of Claim Form For Torture Victims by Danilo N. Pakit

9823 . PROOF of Claim Form For Torture Victims by Manrico Grayda

9824 PROOF of Claim Form For Torture Victims by Delfin Achazo, Deceased by Procopio M.
Brazil

9825 !PROOF of Claim Form For Torture Victims by Gaudencio L. Edias

:9826 PROOF of Claim Form For Torture Victims by Edgardo M. Pasco

9827 PROOF of Claim Form For Torture Victims by Hadji Abdul Kadir Pananggulon

9828 | PROOF of Claim Form For Torture Victims by Conrado CG. Macadangdang

9829 PROOF of Claim Form For Torture Victims by Dominggo 5. Mamugay, Deceased by
Ateliana Mamugay

9830 | PROOF of Claim Form For Torture Victims by Uisus Sabay Sabay

9831 | PROOF cf Claim Form For Torture Victims by Orlando D. Mirasol, Deceased by
Felicisma Mirasol Sialongo

9832 | PROOF of Claim Form For Torture Victims by Leah M. Parayno

9833 |PROOF of Claim Form For Torture Victims by Kasan Mamalunta

9834 |PROOF of Claim Form For Torture Victims by Dangus Sagandilan

9835 PROOF of Claim Form For Torture Victims by Solaiman Midsalips

9836 {PROOF of Claim Form For Torture Victims by Karnen Nangkong

9837 | PROOF of Claim Form For Torture Victims by Abdula Dagendel

9838 |) PROOF of Claim Form For Torture Victims by Marcos G. Mabahin, Deceased by Corazon
A. Mabahin

9839 | PROOF of Claim Form For Torture Victims by Manguda Sulaiman

@ 9840 PROOF of Claim Form For Disappearance Victime by Kuna Kemad and Ulama Edsla by
Alim Ulama

9841 | PROOF of Claim Form For Disappearance Victims by Sumail Pilas by Sapalon Pilas
9842 [PROOF of Claim Form For Disappearance Victims by Pilas Limano by Sapalon Pilas
9843 | PROOF of Claim Form For Disappearance Victims by Sinalong Pilas by Sapalon Pilas
9844 | PROOF of Claim Form For Disappearance Victims by Ali Omar by Eddie Omar

9845 {PROOF of Claim Form For Disappearance Victims by Ayab Sinon by Guialil Ayob
9846 | PROOF of Claim Form For Disappearance Victims by Kasan Makadata by Nunga Amdal
Makadatu

9847 | PROOF of Claim Form For Disappearance Victims by Abo Lakim by Lakim Kiog

9848 | PROOF of Claim Form For Disappearance Victims by Bidangan Munting by Abdulmanap

Munting

9849 | PROOF of Claim Form For Disappearance Victims by Sambutuan Kasan by Mangansakan
Kasan

9850 | PROOF of Claim Form For Disappearance Victims by Abdulradsak Ampatuan by Ebrahim
Ampatuan

9851 ; PROOF of Claim Form For Disappearance Victims by Mentato Baknal by Blah Baknal
9852 PROOF of Claim Form For Disappearance Victims by Sansawna Haguilan by Patutin

Baguilan

See Page 323

Case 1:03-cv-11111-BKW-KJM Document1-13  Filed:01/01/03 Page 3 of 25
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CWIL DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION SOCKET NO. SaaS.
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DATE NR. PROCEEDINGS
1999

Jun 4 9853 ‘PROOF of Claim Form For Disappearance Victims by Kato Esrael by Abdullah Esrael
9854 (PROOF of Claim Form For Disappearance Victims by Patta Bastar by Bantas Kalim
‘9855 PROOF of Claim Form For Disappearance Victims by Akob Kanga by Ruben Kanga
9856 PROOF of Claim Form For Disappearance Victims by Pattak Makalimpas and Otto
: Mekalimpas by Lamping Makalimpas
9657 PROOF of Claim Form For Disappearance Victims by Salem Nonongan by Lamona A.

: Nonongan
9858 PROOF of Claim Form For Disappearance Victims by Tura Uked Mabandes by Mabandes

Sambutuan
9859 PROOF of Claim Form For Disappearance Victims by Ebrahim Kalim by Kalim Dunmanga
9860 (PROOF of Claim Form For Disappearance Victims by Macmod Guialil Buleg by Guialil
: : Ayob
9861 PROOF of Claim Form For Disappearance Victims by Pukeg Iskok by Sampayan Iskak
(Moharidin Guiabar)}
‘9862 PROOF of Claim Farm For Disappearance Victims by Batickan Penna by Allan Pena
9863 PROOF of Claim Form For Disappearance Victims by Guiamoton Uyag by Bengy Uvyog
9864 (PROOF of Claim Form For Disappearance Victims by Tong Alamada by Jamudin Tumog
9865 PROOF of Glaim Form For Disappearance Victims by Kamensa Aba by Bayan Wahab
9866 [PROOF of Claim Form For Disappearance Victims by Ayob Aba by Bayan Wahab
9867 [PROOF of Claim Form For Disappearance Victims by Kamidon Aba by Bayan Wahab
9868 (PROOF of Claim Form Fer Disappearance Victims by Abdul Usman by Lidasan Montodtog
9869 (PROOF of Claim Form For Disappearance Victims by Guialel Pulad by Akan Onsong
9870 |PROOF of Claim Form For Disappearance Victims by Abdul Aban by Usman Aban
9871 [PROOF of Claim Form For Disappearance Victims by Samama Motin by Abag Motin
9872 (PROOF of Claim Form For Disappearance Victims by Ibad Sanilang by Sinaliya Ibad
9873 (PROOF of Claim Form For Disappearance Victims by Pidaylan Dumayon by Gutierres
M. Rauf
9874 |IPROOF of Claim Form For Disappearance Victims by Ayob Sinon by Guialel Ayob
9875 ‘PROOF of Claim Form For Disappearance Victims by Usop Bualan by Mohamad Buaian
9876 (PROOF of Claim Form For Disappearance Victims by Lamausa Ubpon and Blah Rubong
by Kubong Ubpon (Salla M. Ubpon, heir)
9877 (PROOF of Claim Form For Disappearance Victims by Kamsa Adzal by Bulong Mama
9878 (PROOF of Claim Form For Disappearance Victims by Lumena Lidasan and Mentang Lidasan
by Tima Lidasan
9879 |PROOF of Claim Form For Disappearance Victims by Makalasay Kayansang by Katiguia
Baluno Kayansang
9880 [PROOF of Claim Form For Disappearance Victims by Martin Kasan by Bayanon Sumiling
9881 'PROOF of Claim Form For Disappearance Victims by Maluguilem Dilamen by Mukamad
Rasin
9882 PROOF of Claim Form For Disappearance Victims by Edsa Kasim by Mukamad Kasim
9883 ‘PROOF of Claim Form For Disappearance Victims by Babad Edzrael by Salampunay
Edzrael
9884 (PROOF of Claim Form For Disappearance Victims by Zainal Dindo by Demenang Dindo
$885 |PROOF of Claim Form For Disappearance Victims by Mama Usman by Abag Keiya
9886 [PROOF of Claim Form For Disappearance Victims by Guialel Pulad by Akan Onsong
9887 (PROOF of Claim Form For Disappearance Victims by Datu Lina Tungao by Sainot
Tungao
9888 (PROOF of Claim Form For Disappearance Victims by
Baina Salik
9889 PROOF of Claim Form For Disappearance Victims by
Kamaguia

Salik Balawag and Duma Salik by

Ngala Kamagina by Zainudin

See Page 324

Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed'01/01/03 Page 4 of 25
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CIVIL DOCKET CONTINUATION SHEET
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Jun 4 9890 . PROOF of Claim Form For Disappearance Victims by Malik Usman by Abag Kaiya
9891 | PROOF cf Claim Form Far Disappearance Victims by Monib Abdullah by Salgambal
: Abdullah
9892 PROOF of Claim Form For Disappearance Victims by Malik Usman by Kaiya Abas
9893 PROOF of Claim Form For Disappearance Victims by Taeb Warem
9894 | PROOF of Claim Form For Disappearance Victims by Manuel M. Abubakar by Pendatum

Abubakar
@ 9895 | PROOF of Claim Form For Disappearance Victims by Tinendanan Upiwag, Abdulkarim
Abas Otto, Abdulkarim Abas Utto, Abdulfatab Abas Urto, Esmail Utto and

Akatipa Abas Utto by Pigcaulan Abas
9896 PROOF of Claim Form For Summary Execution Victims by Baikong Ubang by Binabay

Ubang

9897 PROOF of Claim Form For Summary Execution Victims by Mantato Ubang by Binabay
Ubang

9898 | PROOF of Claim Form For Summary Execution Victims by Minbida Ubang by Binabay
Ubang

9899 PROOF of Claim Form For Summary Execution Victims by Kembo Kasan and Magandingan

Kasan by Samakong Kasan
9900 | PROOF of Claim Form For Summary Execution Victims by Kadilon Atong by Atong Tonte

©} 9901 | PROOF of Claim Form For Summary Execution Victims by Amii Kusain Atong by Atong
Tonto
9902 | PROOF of Claim Form For Summary Execution Victims by Tahir Guiamilon by Simpan

Guiamilon

9903 | PROOF of Claim Form For Summary Execution Victims by Siawan Omar by Eddie Omar
9904 | PROOF of Claim Form For Summary Execution Victims by Vicky Puag by Abdila Puag
9905 | PROOF of Claim Form For Summary Execution Victims by Tolingi Diakaria by Samula
Diakaria

9906 | PROOF of Claim Form For Summary Execution Victims by Kadsar Diakaria by Samula
Diakaria

9907 | PROOF of Claim Form For Summary Execution Victims by Usman Dampan by Mutalib
Usman

@ 9908 | PROOF of Claim Form For Summary Execution Victims by Oder Guiabalael by Ebrahim

Guiabalael
9909 | PROOF of Claim Form For Summary Execution Victims by Kandidato Guiabalael by

Ebrahim Guiabalael

9910 | PROOF of Claim Form For Summary Execution Victims by Genda Guiabalael by Ebrahim
Guiabalaal

9911 | PROOF of Claim Form For Summary Execution Victims by Guianaria Rayamuda Benito
by Abdulrahman R. Benito

9912 |; PROOF of Claim Form For Summary Execution Victims by Baidido Rajamuda Benito

by Abdulrahman R. Benito

9913 | PROOF of Claim Form For Summary Execution Victims by Sabay Minandang by Nasser
Minandang

9914 | PROOF of Claim Form For Summary Execution Victims by Usman Adam by Lukaya Usman
9915 | PROOF of Claim Form For Summary Execution Victims by Boy Manay amd Bengig Manay
by Waski Manay

9916 | PROOF of Claim Form For Summary Execution Victims by Palamat Kusain by Esmael

Kusain

9917 PROOF of Claim Form For Summary Execution Vietims by Katimuan Kusain by Esmael
Kusain

9918 | PROOF of Claim Form For Summary Execution Victims by Tomas Kulong by Abdulhamid
Tomas

See Page 325

Case 1:03-cv-11111-DKW-KJM Document1-13  Filed‘01/01/03 Page5of 25
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

DATE NR PROCEEDINGS
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Jun 4 | 9919 PROOF of Claim Form For Summary Execution Victims by Kadatuan Tomas by Abdulhamid
: Tomas
9920) PROOF of Claim Form For Summary Execution Victims by Bunsalagan Guapal by Sagan
: Guiapal

: 9921) PROOF of Claim Form For Summary Execution Victims by Surender Benengkilan by
i Salayan Benegkilan
; 9922 PROOF of Claim Form For Summary Execution Victims by Abdulmaula Palti S$. by
: Palti Abdullatip 5.
9923 PROOF of Claim Form For Summary Execution Victims by Lunan Ambaledto by Kuyag
: Omar
: 9924 : PROOF of Claim Form For Summary Execution Victims by Omar Ambalodto by Kuyag Omar
/ 9925 PROOF of Claim Form For Summary Execution Victims by Turo Kalili by Esmael Lukas
: Maganaka
9926 PROOF of Claim Form For Summary Execution Victims by Penendia Kalanduyan by
Abdulkarim Kalanduyan
9927 PROOF of Ciaim Form For Summary Execution Victims by Laga Ambadil by Untal
. Ambadil
19928 PROOF of Claim Form For Summary Execution Victims by Musa Guimad by Hadiguia Ali
9929 PROOF of Claim Form For Summary Execution Victims by Pendatun Ambag by Hadiguia

Ali
9930 PROOF of Claim Form For Summary Execution Victims by Babae Omar by Sanggaton Omar @
9931) PROOF of Claim Form For Summary Execution Victims by Acob Kendang by Mohamad L.
Acab
9932) PROOF of Claim Form For Summary Execution Victims by Dayao Malang by Kusain
Malang
9933, PROOF of Claim Form For Summary Execution Victims by Edon Kasan by Mama Kasan
9934 PROOF of Claim Form For Summary Execution Victims by Samama G. Pasandalan by
Daudie R. Pasandaian
$935 PROOF of Claim Form For Summary Execution Victims by Calipa Hussain by Ibrahim

Hussain
9936 | PROOF of Claim Form For Summary Execution Victims by Saptula Kadakan by Guiamadil

Kadakan
9937 | PROOF of Claim Form For Summary Execution Victims by Villamor Babris @
9933 | PROOF of Claim Form For Summary Execution Victims by Henry A. Bagondol by Rebecea
C. Bagondol
9939 | PROOF of Claim Form For Summary Execution Victims by Pindi S. Malabangen by
Pindililang Malabangen
9940 | PROOF of Claim Form For Summary Execution Victims by Lundongen Singh by Budsal
Singh
9941 | PROOF of Claim Form For Summary Execution Victims by Sanraluna Baguilan by Patutin
Baguilan
9942 | PROOF of Claim Form For Summary Execution Victims by Tarzan Dimasangkay by Datu
Laguiab Dimasangkay
9943 PROOF of Claim Form For Summary Execution Victims by Magsaysay Dimasangkay by
Datu Laguiab Dimasangkay
9944 PROOF of Claim Form For Summary Execution Victims by Karnen Nangkong
9945 | PROOF of Claim Form For Summary Execution Victims by Uwad Ganpla by Ali Uwad
9946 | PROOF of Claim Form For Summary Execution Victims by Abdilah Guialil by Hadji
Ali Guialil
9947 | PROOF of Claim Form For Summary Execution Victims by
Abdulmoen Pendatun

Abdulkadir Pendatun by

See Page 326

Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed:01/01/03 Page 6 of 25
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CIVIL DOCKET CONTINUATION SHEET
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| PAGE 32608 PAGES
DATE NRL PROCEEDINGS
1999 :
Jun 4 9948 PROOF of Claim Form For Summary Execution Victims by Tunting Pendacun by Abdulmoen
: Pendatun
9949 | PROOF of Claim Form For Summary Execution Victims by Sumandal Lakim by Salambay
. Salendugay Lakim
9950 PROOF of Claim Form For Summary Execution Victims by Kuas Sukong by Madkay Sukong
9951 | PROOF of Claim Form For Summary Execution Victims by Ibrahim Usman by Hadja Rambay
U. Ampatuan
© 9952 PROOF of Claim Form For Summary Execution Victims by Klon Manalasal by Pao
Manalasal
9953 | PROOF of Claim Form For Summary Execution Victims by Macapagal Abdul by Datang
Abdul
9954 PROOF of Claim Form For Summary Execution Victims by Ahmad Abduirahman by
Abdulrahman Kamal
(9955 | PROOF of Claim Form For Summary Execution Victims by Dares Abdul by Tagongong
I Abdul
(9956 PROOF of Claim Form For Summary Execution Victims by Tahir Guiamilen by Simpan
Guiami lon
9957 | PROOF of Claim Form For Summary Execution Victims by Sanghi Manalindo by Abdulkaliz
Manalindo
9958 -PROOF of Claim Form For Summary Execution Victims by Macmod Udto by Udto Latip
9959 | PROOF of Claim Form For Summary Execution Victims by Abdulkarim Adted by Landuni
Adted
9960 |PROOF of Claim Form For Summary Execution Victims by Abdulbayan Angbi by Guiamokad
Angbi
9961 [PROOF of Glaim Form For Summary Execution Victims by Malano Kudarat by Gedtem
Dimalem
9962 PROOF of Claim Form For Summary Execution Victims by Palawan Sampangan by Dolphy
Sampangan
9963 | PROOF of Claim Form For Summary Execution Victims by Haron A. Magandingan by
Kupa Magandingan
9964 | PROOF of Claim Form For Summary Execution Victims by Bangon Badot, Indok Ambal
© and Lumbaya Ambol by Habelosa BE. Lamada
9965 |PROOF of Claim Form For Summary Execution Victims by Tasel Alamada by Samsudin
Saidali
9966 | PROOF of Claim Form For Summary Execution Victims by Manggialuna Puntuan by Usop
Manggialuna
9967 | PROOF of Claim Form For Summary Execution Victims by Montok Kadatuan by Saiba
Montok
9968 PROOF of Claim Form For Summary Execution Victims by Guialuson Kending by Kending
Had ji Mohamad
9969 | PROOF of Claim Form For Summary Execution Victims by Banengin P. Raguia by Allan
E. Raguia
9970 | PROOF of Claim Form For Summary Execution Victims by Guiamalia K. Rabing and Omar
M. Edza by Farida Omar
9971 | PROOF of Claim Form For Summary Execution Victims by Enrique Serata by Cristeta
Serata
9972 | PROOF of Claim Form For Summary Execution Victims by Bao Adil by H. Mohamad Adil
9973 | PROOF of Claim Form For Summary Execution Victims by Kusain Adil by H. Mohamad
Adil
9974 |PROOF of Claim Form For Summary Execution Victims by Rahim Ayunan by Corona Ayunak
See Page 327

Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed-01/01/03 Page 7 of 25
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Civil DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE NR. PROCEEDINGS
1999 EEE
Jun 4 9975 ; PROOF of Claim Form For Summary Execution Victims by Balatong Kalimbulan by

Kamdso K. Ralimbulan
9976 PROOF of Claim Form For Summary Execution Victims by Nasrudin Calimbol by Abdulah
: Calimbol
: 9977. PROOF of Claim Ferm For Summary Execution Victims by Anibor Unos by Amina Unos
/ 9978 PROOF of Claim Form For Summary Execution Victims by Nasser Tomas by Maon Tomas
: 9979 PROOF of Claim Form For Summary Execution Victims by Kudos Taup by Ambunawas
Taup
9980 PROOF of Claim Form For Summary Execution Victims by Gadi Baliwan by Sabal Gadi
9981 PROOF of Claim Form For Summary Execution Victims by Sapia Mama Baliwan by Sabal

Gadi
' 9982. PROOF of Claim Form For Summary Execution Victims by Kadalem Guiapones by Pipikan
: Guiapones
9983 PROOF of Claim Form For Summary Execution Victims by Manuel Sernicuia by Nita
Sernicula
9984 PROOF of Claim Form For Summary Execution Victims by Ernesto Abadies by Lourdes
: Abadies
. 9985 PROOF of Claim Form For Summary Execution Victims by Matabay M. Magrag by Sumangaj
A. Mangrag
9986 PROOF of Claim Form For Summary Execution Victims by Hadji Ebrahim Malao by
Sumangca A. Mangrag @
9987 PROOF of Claim Form For Summary Execution Victims by Hadja Mangrag Abas by Sumangca
Mangrag
9988 | PROOF of Claim Form For Summary Execution Victims by Tulan Dalepeng by Abdula
Dalepeng
9989 PROOF of Claim Form For Summary Execution Victims by Gayak Imbarig by Abdulatip
Imbarig
' 9990 PROOF of Claim Form For Summary Execution Victims by Mameso Imbarig by Abdulatip
: Imbarig
9991 PROOF of Claim Form For Summary Execution Victims by Dindekan Ali by Abdulatip
Ali
9992. PROOF of Claim Form For Summary Execution Victims by Abdullah Ali by Abdulatip
Ali

9993, PROOF of Claim Form For Summary Execution Victims by Hadji Abas Mangrag by
Sumangea Mangrag

9994 | PROOF of Claim Form For Summary Execution Victims by Hadja Kadiguia A. Mangrag
by Sumangca Mangrag

9995 PROOF of Claim Form For Summary Execution Victims by Tutin A. Bakana by Lamig
Bakana

9996 | PROOF of Claim Form For Summary Execution Victims by Sema Takulanga by Hadji
Mokamad Takulanga

9997 PROOF of Claim Form For Summary Execution Victima by Lukman Tawalang by Norodin

Tawalang

9998 PROOF of Claim Form For Summary Execution Victims by Salic Kadabpal by Basit
Lumambas

9999| PROOF of Claim Form For Summary Execution Victims by Mario M. Cole by Estrella
M. Cole

10000 PROOF of Claim Form For Summary Execution Victims by Dilembangan Utto by Bai

Dulunay Utto
10001| PROOF of Claim Form For Summary Execution Victims by
10002: PROOF of Claim Form For Summary Execution Victims by
Matabalos by Abdulhakeem Matabalos
See Page 328

Masay Ungkil by Tong Masay
Sawad Matabaios and Ebrahim

Case 1:03-cv-11111;-DKW-KJM Document 1-13
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CIVEL. DOCKET CONTINUATION SHEET

Filed'61/01/03 Page 8 of 25

PLAINTIFF
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DEFENDANT
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See Page 329

. PAGE 32Z80F__ PAGES
DATE NR. PROCEEDINGS
1999
Jun 4 10003) PROOF of Claim Form For Summary Execution Victims by Karon Datumanong by Balaogan
Datumanong
10004) PROOF of Claim Form For Summary Execution Victims by Sulaiman Edzel by Balaogan
Datumanong
10005 PROOF of Claim Form For Summary Execution Victims by Kasan Kamad by Ali Kamad
10006; PROOF cf Claim Form For Summary Execution Victims by Salabang Kamad by Ali Kamad
10007: PROOF of Claim Form For Summary Execution Victims by Madingkong Khalid by Kamadsa
KR. Kalimbulan
10008} PROOF of Claim Form For Summary Execution Victims by Bite Ala by Ala Norodin
10009| PROOF of Claim Form For Summary Execution Victims by Kasim T. Tuonedotu by
Guiamadil Tuonodotu
10016) PROOF of Claim Form For Summary Execution Victims by Abdul Angki by Guiamokan
Angki
10011: PROOF of Claim Form For Summary Execution Victims by Ssilila Osman by Sailila
Nasser
10012! PROOF of Claim Ferm For Summary Execution Victims by Abdulkarim Sampong by
Mantugay Gampong
10013! PROOF of Claim Form For Summary Execution Victims by Salasal Tomas by Abdulhamid
Tomas
10014: PROOF of Claim Form For Summary Execution Victims by Sammy Tomas by Abdulhamid
Tomas
10015! PROOF of Claim Form For Summary Execution Victims by Camlon Manguindalat by
Patugamay Manguindalat
10016] PROOF of Claim Form For Summary Execution Victims by Tungkalingan H. Padak by
Kaitem Buat
10017! PROOF of Claim Form For Summary Execution Victims by Samad Guad by Wahida Guad
LOGL8! PROOF of Claim Form For Summary Execution Victims by Abubakar Puag by Abdila Puag
10019! PROOF of Claim Form for Summary Execution Victims by Alkisa Puag by Abdila Puag
10020! PROOF of Claim Form For Summary Execution Victims by Lumadsik Mustapha by Sindatgi
Mustapha
10021, PROOF of Claim Form For Summary Execution Victims by Minok Mustapha by Sindatok
Mustapha
100221 PROOF of Claim Form For Summary Execution Victims by Ebrahim Andiyay by Dimalen
Andiyay
10023! PROOF of Claim Form For Summary Execution Victims by Kandog Anti by Mintoce Anti
10024| PROOF of Claim Form For Summary Execution Victims by Bakar Rabas by Embang Pua
10025| PROOF of Claim Form For Summary Execution Victims by Apan Ansulat by Begi Ansulaf
10026! PROOF of Claim Form For Summary Execution Victims by Adam Usman by Lukaya Usman
10027! PROOF of Claim Form For Summary Execution Victims by Gendi Liak by Mangabay
Salaman Liak
10028) PROOF of Claim Form For Summary Execution Victims by Haron Usop by Abdulrahman
Yusep
100291 PROOF of Claim Form For Summary Execution Victims by Kasi Dansal by Dindia
Guiamadel Bansal
10030| PROOF of Claim Form For Summary Execution Victims by Abo Kamad by Abo Kama
10031} PROOF of Claim Form For Summary Execution Victims by Bosikong H. Asim by Dia
H. Asim
10032| PROOF of Claim Form For Summary Execution Victims by Kablan Wahad by Sinibay
Wahab
10033| PROOF of Claim Form For Summary Execution Victims by Libidan Dalig by Dalig

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Case 1:03-cv-11111- PKW- KJM Document1-13  Filed:01/01/03 Page 9 of 25
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Jun 4 10034 PROOF of Claim Form For Summary Execution Victims by Benito Gialudin by Miriam

Gudai

10035 PROOF of Claim Form For Summary Execution Victims by Kanlidato Sulanting by Pinaa

Kanakan :

10036; PROOF of Claim Form For Summary Execution Victims by Abdullah Puri by Minengko

| Tukan Puti

10037) PROOF of Claim Form For Summary Execution Victims by Mikanpong Amilil by Hasim

: Amilil

10038 | PROOF of Claim Form For Summary Execution Victims by Abdillah Kando by Pembain

: Kando

10039 PROOF of Claim Form For Summary Execution Victims by Madtag Ayunan by Mokamina

. Ayunan
10040 PROOF of Claim Form For Summary Execution Victims by Liga Kemao by Anwar K. Silay
10041 | PROOF of Claim Form For Summary Execution Victims by Omal Wahid Baguisan by Maskod
: Oma 1
10042 PROOF of Claim Form For Summary Execution Victims by Abojahma Bulutan by Guialani

: Batuan Nonding
10043 PROOF of Claim Form For Summary Execution Victims by Kintuan Salilin by Kintuan

: Mangelen
20044 , PROOF of Claim Form For Summary Execution Victims by Sindatu Mangelen by Kintuan 6

Mangelen
10045 | PROOF of Claim Form For Summary Execution Victims by Guinaid Mangelen by Kintuan

: Mangelen
10046 PROOF of Claim Form For Summary Execution Victims by Namba ALi by Cinalong Amelil
10047 PROOF of Claim Form For Summary Execution Victims by Guiamalon Uwak by Mamison

I Uwad
10048 | PROOF of Claim Form For Summary Execution Victims by Kansa Abdul and Zumail Abdul

by Sambatol Abdul
10049 PROOF of Claim Form For Summary Execution Victims by Lanao Peto by H. Mohammad Lumenda
10050 | PROOF of Claim Form For Summary Execution Victims by Dabenayan Sarif, Agoak Abag pnd
Esmael Butuan by Nino Butuan and Akong Butuan
10051 | PROOF of Claim Form For Summary Execution Victims by Daud M. Pangkog by Tautin M.
Pangkog @
10052 PROOF of Claim Porm For Summary Execution Victims by Siva Tegel and Ishak Liawa
by Malaga Kabog
10G53 | PROOF of Claim Form For Summary Execution Victims by Tawi Adil by H. Mohamad Adil
10054 | PROOF of Claim Form For Summary Execution Victims by Mohamad Silad by H. Kadigia
Silad

10055 ) PROOF of Claim Form For Summary Execution Victims by Nowdin Silad by H. Hadiquia
Ali Silad

10056 | PROOF of Claim Form For Summary Execution Victims by Guiama Lukas by Ging Lukas
10057 | PROOF of Claim Form For Summary Execution Victims by Kamarudin Kasim by Tanding

Usman

10058 | PROOF of Claim Form For Summary Execution Victims by Mustapa Mocalam by Bebe
Moca lam

10059 | PROOF of Claim Form For Summary Execution Victims by Samson Kali by Tulombai
Samson

1O060 | PROOF of Claim Form For Summary Execution Victims by Adzal Apia by Ebrahim Adxal
LOOG1 | PROOF of Claim Form For Summary Execution Victims by Dimalta Abdul Dilindigen by
Salaminda Dilindigen

40062 | PROOF of Claim Form For Summary Execution Victims by
Guiamilil

Guiamilil Usman by Munawara

See Page 330

Case 1:03-cv-11111-BKW-KJM Document1-13  Filed01/01/03. Page 10 of 25
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CIVIL, DOCKET CONTINUATION SHEET
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Jun 4 10063! PROOF of Claim Form For Summary Execution Victims by Zaina Tuluganen by H. Saada
: Kamodan Tuluganen
10064; PROOF of Claim Form For Summary Execution Victims by Minalang Ubang by Binabay
Ubang
10065! PROOF of Claim Form For Summary Execution Victims by Kalimendeng Peko by Musa
Peko
@ 7 {10066; PROOF of Claim Form For Torture Victims by Cornelio P. Aldon
(10067, PROOF of Claim Ferm For Torture Victims by Barsabias 0. Lopez, Jr.

10068: PROOF of Claim Form For Torture Victims by Faustina Balise
10069! PROOF of Claim Form For Torture Victims by Christita A. Villahermosa, Deceased
by Lolita A. Villahermosa
10070, PROOF of Claim Form For Torture Victims by Jose Balise, Deceased by Faustina
Balise
10071. PROOF of Claim Form For Torture Victims by Pastor R. Tenorio, Jr.
19072) PROOF of Claim Form For Torture Victims by Corazon Mabutas Abejuela, Deceased by
Mercuria Mabutas Mabag
10073 PROOF of Claim Form For Torture Victims by Maruvic Mabutas Abejuela, Deceased by
Mercuria Mabutas Mabag

10074! PROOF of Claim Form For Torture Victims by Angelo T. Payra
©} 10075: PROOF of Claim Form For Torture Victims by Erlinda OQalican Ortiz

10076| PROOF of Claim Form For Summary Execution Victims by Udzag A. Amirel, Deceased
by Datu Israel A. Amirol
10077| PROOF of Claim Form For Summary Execution Victims by Mohamad Aton by Sarah H.

Latip

10078! PROOF of Claim Form For Summary Execution Victims by Digandang Acbar by Abdul A.
Achar

10079] PROOF of Claim Form For Summary Execution Victims by Bangon Saidina by Mantato
Saidina

10080; PROOF of Claim Form For Summary Execution Victims by Muslimin Kampuno by Teting
Kampuno

10081] PROOF of Claim Form For Summary Execution Victims by Hadji Maguid Pendaliday by

@ Saavedra A. Pendaliday

10082; PROOF of Claim Form For Summary Execution Victims by Michael B. Sinsuet by Esmae
S. Kamir

10083; PROOF of Claim Form For Summary Execution Victims by Silad Manday by Guimbai
Manday

10084! PROOF of Claim Form For Summary Execution Victims by Kendatu Bantuan by

Banggakala Neaday

10085, PROOF of Claim Form For Summary Execution Victims by Mangkong Milikamo by Uday
Milikamo

10086: PROOF of Claim Form For Summary Execution Victims by Soraya Senggayan by Hadji

Odin Senggayan
10087| PROOF of Claim Form For Summary Execution Victims by Muslimin Benito by Bedalia

L. Benito

10088: PROOF of Claim Form For Summary Execution Victims by Sanbutuan Amil by Mohamad
Amil

10089) PROOF of Claim Form For Summary Execution Victims by Oekal Malba by Antao Malba

& 10090/ PROOF of Claim Form For Torture Victims by Evaristo P. Badiles
10091] PROOF of Claim Form For Torture Victims by Jose C. Nacobo-an

See Page 331

Case 1:03-cv-11111-BKW-KJM Document1-13 _ Filed,0@%/01/03. Page 11 of 25
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Jun 8 10092) PROOF of Claim Form For Torture Vietims by Pamfilo Cabigayan

10093 PROOF of Claim Form For Torture Victims by Vicente Cabigayan

10094 PROOF of Claim Form For Torture Victims by Leo A. Santillan

10095 | PROOF of Claim Form For Torture Victims by Rolito Perez

10096 PROOF of Claim Form For Torture Victims by Bonifacio Lagda Teves

(10097 PROOF of Claim Form For Torture Victims by Esteban C. Vergara

10098 PROOF of Claim Form For Torture Victims by Ansad Lagda Leopoldo

10099 PROOF of Claim Form For Torture Victims by Onofre Uget

10100 PROOF cf Claim Form For Torture Victims by Miguel Lauron

10102 PROOF of Claim Form For Torture Victims by Prudencio Magsayo

10102 PROOF of Claim Form For Disappearance Victims by Antonio Brangan by Osias M.

i Branggan

10103 PROOF of Claim Form For Disappearance Victims by Henry Duyag by Timoteo E. Duyag

10164 PROOF of Ciaim Form For Summary Execution Victims by Perfecto C. Rarygal by

: : Puriza Rarugal~Hermida

10105 PROOF of Claim Form For Summary Execution Victims by Redulfo T. Wabingga by Lucas
W. Wabingga
20106 | PROOF of Claim Form For Summary Execution Victims by Domingo Rebato by Genaro
Pomida
10107 | PROOF of Glaim Form For Summary Execution Victims by Redrigo N. Cenas by Milagros
Oo. Omega
10108 ; PROOF of Claim Form For Summary Execution Victims by Rosita Anoos by Flavio N.
Anoos
10109) PROOF of Claim Form For Summary Execution Victims by Domingo Anoos by Flavio N.

Anoos

10110 | PROOF of Claim Form For Summary Execution Victims by Gemma Anoos by Flavio N.
Anoos

LOLLL | PROOF of Claim Form For Summary Execution Victims by Isaias G. Rapada by
Elizabeth Rapada-Corporal

10112) PROOF of Claim Form For Summary Execution Victims by Arnulfe Lara by Rosalia Laral
10113 | PROOF of Claim Form For Summary Execution Victims by Valeriano Umbay by Pedro

Unbay

LOLI4 | PROOF of Claim Form For Summary Execution Victims by Mateo C. Olevar by Thelma
S. Olivar

10115 | PROOF of Claim Form For Summary Execution Victims by Santes Luague by Erlinda
Ebarle~Luague

LOL16 | PROOF of Claim Form For Summary Execution Victims by Jacinto Buac by Joseph Buac
10117) PROOF of Claim Form For Summary Execution Victims by Semion 0. Jagape, Jr. by
Nonela 0. Jagape

10118 | PROOF of Claim Form For Summary Execution Victims by Ricardo G. Ditan by Julia

Lato~Ditan

10119 | PROOF of Claim Form For Summary Execution Victims by Guillermo de Rama by Francis
Mamac

10120 | PROOF of Claim Form For Summary Execution Victims by Gil Bionson by Macario M.
Bionson

10121 | PROOF of Claim Form For Summary Execution Victims by Quillano Parantar by Lucina N
Parantar

10122 | PROOF of Claim Form For Summary Execution Victims by Genaro Mansuento by Fermina
B, Tanuco

10123 | PROOF of Claim Form For Summary Execution Victims by Fedelino Mansueto by Ferminal

B. Tanuco
20124 | PROOF of Claim Form For Summary Execution Victims by Xenon Lague by Godofredo

Lague See Page 332

Case 1:03-cv-11111-DKW-KJM Document1-13 Filed 81/01/03 Page 12 of 25
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PLAINTIFF
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1999
Jun 8 10125; PROOF of Claim Form For Summary Execution Victims by Asterio Gumagay by Fermina
B. Tanuce

10126; PROOF of Claim Form For Summary Execution Victims by Mario D. Bulongon by
Herculana Dela Pina Bolongon ,
iQi27) PROOF of Claim Form For Summary Execution Victims by Irenia Tanuco by Fermina

B. Tanuce

10128} PROOF of Glaim Form For Summary Execution Victims by Rogelio Ancos by Falvioa N.
Anoos
9 10129; PROOF of Claim Form Por torture Victims by Alberto T. Acierto, Sr.

;10130 PROOF of Claim Form For Torture Victims by Melchor 4. Malineg
110131, PROOF of Claim Form For Torture Victims by Rodolfo Bayoca
10132) PROOF of Claim Form For Torture Vietims by Tranquilino Lorenzo
10133] PROOF of Claim Form For Torture Victims by Leonardo Gealone
10134) PROOF of Claim Form For Torture Victims by Arturo Gealone, Sr.
10135! PROOF of Claim Form For Torture Victims by Juanito Padilla, Jr.
10136; PROOF of Claim Form For Torture Victims by Flora F. Palermo
10137) PROOF of Claim Form For Torture Victims by Florencio Rosales
10138; PROOF of Claim Form For Torture Victims by Bienvenido N. Medina
10139; PROOF of Claim Form For Torture Victims by Jimena P. Fontamillas
10140| PROOF of Claim Form For Torture Victims by Eunece P. Rosales
10141| PROOF of Claim Form For Torture Victims by Romeo Bayeca

10142) PROOF of Claim Form For Summary Execution Victims by Ceferino A. Culili, Jr. by
Teresita C. Bayao

10143; PROOF of Claim Form For Summary Execution Victims by Tranquilino D. Cabarrubias
by Apolonia F. Cabarrubias

L0i44; PROOF of Claim Form For Summary Execution Victims by Santos Raging by Josefa

Raging
10145] PROOF of Claim Form For Summary Execution Victims by Antonio Candes by Aurelia
Candes
@ 10 10146) PROOF of Claim Form For Torture Victims by Rogelio Arnoza, Deceased by Caridad

Vda De Arnoza

10147) PROOF of Claim Form For Torture Victims by Rebecca 3. Bonifacio

10148) PROOF of Claim Form For Torture Victims by Angel Gabiana

10149] PROOF of Claim Form For Summary Execution Victims by Antonio Dalit, Jr. by
Victorino Dalit

iG150| PROOF of Claim Form For Sumaary Execution Victims by Demetrio Pacios by Vecente
Pacios

10151] PROOF of Claim Form For Summary Execution Victims by Sandatu Tahir by Nariman

Glang Tahir-Singel

14 10152/| PROOF of Claim Form For Torture Victims by Raymundo A. Quijano

10153} PROOF of Claim Form For Torture Victims by Candido F. Batugon

10154; PROOF of Claim Form For Torture Victims by Cresencia F. Paz

10155| PROOF of Claim Form For Torture Victims by Elmer B. Bajaro

10156) PROOF of Claim Form Fer Torture Victims by Bianis Conchita

10157) PROOF of Claim Form For Summary Execution Victims by Nonong Dawing by Manuel

Dawing
16158! PROOF of Claim Form For Summary

Virginia P. Gabinay. See Page 333

Execution Victime by Antonio P. Gabinay by

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1999:
Jun 15 10159: PROOF of Claim Form For Torture Victims by Olimpio P. Batugon
10160 | PROOF of Claim Form For Torture Victims by Nestor Banqquise
‘10161 PROOF of Claim Form Fer Torture Victims by Adelaida M. Tangpos
10162: PROOF of Claim Form For Disappearance Victims by Petronio Gabonada by Violeta G.
Ocenar
10163) PROOF of Claim Form For Disappearance Victims by Pangol Edza by Naotan Pangol
10164: PROOF of Claim Form For Summary Execution Victims by Tokal Menang by Datu Ali
: : Menang
10165 | PROOF of Claim Form For Summary Execution Victims by Tukal Menang by Datu Ali
Menang
40166 PROOF of Claim Form For Summary Execution Victims by Nicemedes Asoy by Conrado
: Asoy
16 10167 : PROOF of Claim Form For Torture Victims by Yacob Samir Jaafar
10168 | PROOF of Claim Form For Disappearance Victims by Datu Kalag by Hadji Muslimin
Kalag
10169 PROOF of Claim Form For Disappearance Victims by Akmad Taruyan by Sampurna
: Taruyan
10176 PROOF of Claim Form For Disappearance Victims by Emerson R. Supsupin and Elpidio
R. Supsupin by Perla R. Supsupin
10171 PROOF of Claim Form For Disappearance Victims by Rubin Gaban by Lourdes Garra
10172 PROOF of Claim Form For Disappearance Victims by Emerson R. Supsupin and Elpidio
R. Supsupin by Perla R. Supsupin
10173 | PROOF of Claim Form For Summary Execution Victims by Badrudin Kalag by Hadji
Muslimin Kalag
LOL74 | PROOF of Claim Form For Summary Execution Victims by Romeo G. Crisme by Phebe R.
Gamata Grismo
LOL75) PROOF of Claim Form For Summary Execution Victims by Emelio Digao by Beto Digao
10176 PROOF of Claim Form For Summary Execution Victims by Cuadrato L. Luayon by
Valentine Q. Luayon
LOL77 | PROOF of Claim Form For Summary Execution Victims by Estrella R. Palijado by
Segundo Palijado
17 10178 PROOF of Claim Form For Torture Victims by Romulo Samson Cantutay Sr.
10179 | PROOF of Claim Form For Summary Execution Victims by Edmundo 8. Baruis by Felipa
Baruis
18 10180 | PROOF of Claim Form For Torture Victims by Miguel G. Se
21 10181 PROOF of Claim Form For Torture Victims by Pablo K,. Butor, Deceased by Celeste
0, Botor
10182 PROOF of Claim Form For Summary Execution Victims by Edilberto Sumalinog, Sr. by
Teresita Sumalinog
10183 PROOF of Claim Form For Summary Execution Victims by Roberto Ando Nano by Erlinda
Nano
10184 | PROOF of Claim Form For Summary Execution Victims by Manuel Olid
10185 | PROOF of Claim Form For Summary Execution Victims by Jose Ablao by Yolanda A.
Pena
See Page 334

Case 1:03-cv-11111-BKW-KJM Document 1-13

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Page 14 of 25

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CIVIL, DOCKET CONTINUATION SHEET
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DATE NRL PROCEEDINGS
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Jun 23 10186; PROOF of Claim Form For Torture Victims by Roger C. Cardero
10187, PROOF of Claim Form For Torture Victims by Bebencio Macario
10188 PROOF of Claim Form For Torture Victims by Santiago G. Medina
10189, PROOF of Claim Form For Torture Victims by Roberto D. Villamor
10190; PROOF of Claim Form For Torture Victims by Emiliano Beteran Intam
LO191| PROOF of Claim Form For Torture Victims by Daniel Lumasag Bulawan
10192! PROOF of Claim Form For Torture Victims by Hidie Palattao Dassil
10193] PROOF of Claim Form For Torture Victims by Quirino P. Ramos
10194, PROOF of Claim Form For Terture Victims by Bernarde Ramos Lagua
10195) PROOF of Claim Form For Torture Victims by Temoteo Palattao
10196, PROOF of Claim Form For Torture Victims by Martin Bungag, Deceased by Juanita
Bungag
:10197; PROOF of Claim Form For Torture Victims by Perfecto $. Culili
10198, PROOF of Claim Form For Torture Victims by Elvisio Maximo Abreu
19199 PROOF of Claim Form For Torture Victims by Hendy Asucena
10200, PROOF of Claim Form For Torture Victims by Adelino Gelbalega, Deceased by Jennifd
G. Diaz
10201; PROOF of Claim Form For Torture Victims by Jose Pata Gumatao
10202; PROOF of Claim Form For Summary Execution Vietims by Juan Pacardo by Jelly Pacard
10203] PROOF of Claim Form For Summary Execution Victims by Dante Basiloy and Charito
Basiloy by Noe L. Basiloy
24 10204; PROOF of Claim Form For Torture Victims by Rolinito §. Villanueva, Deceased by
Rondena S. Villanueva
25 10205[ PROOF of Claim Form For Summary Execution Victims by Crispin Villaflor by Maria
R. Villaflor
Notification by Ninth Circuit Court of Appeals of Docket Number: Re: 5/26/99
Notice of Appeal CA 99-16278
28 10206; PROOF of Claim Form For Torture Victims by Lino Nacerio, Jr.
10207| PROOF of Claim Ferm For Torture Victims by Inego Nabla
10208| PROOF of Claim Form Fer Torture Victims by Delfin Achezo, Deceased by Procopio
M. Brazil
10209; PROOF of Claim Ferm ¥or Torture Victims by Adoulffe M. Padua
10210! PROOF of Claim Form For Torture Victims by Celso P. Guanizo
10211) PROOF of Claim Form For Torture Victims by Benedicto Cabaliao, Deceased by
Clemente A. Cabal jac
10212) PROOF of Claim Form For Torture Victims by Ricardo A. Libutano
10213] PROOF of Claim Form For Torture Victims by Pastor Cabornay, Deceased by Pilar C.
Salundo
10214; PROOF of Claim Form For Torture Victims by Nelia G. Cabigayan
10215, PROOF of Claim Form For Torture Victims by Onofre D. Mabag
10216] PROOF of Claim Form For Torture Victims by Vicentito A. Cabudsan, Deceased by
Santiago C. Cabudsan
10217; PROOF of Claim Form For Torture Victims by Eugenio Cabigayan
10218, PROOF of Claim Form For Torture Victims by Carlito BD. Mabag, Deceased by
Emeliano C. Delmonte
10219 | PROOF of Claim Form For Summary Execution Victims by Marianito Mabansag by Pacitd
A. Cabral
See Page 335

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Case 1:03-cv-11111-BKW-KJM Document1-13 Filed @1/01/03 Page 15 of 25
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Jun 28 10220 | PROOF of Claim Form For Summary Execution Victims by Olempic Mabansag, Sr. by

: Pacita A. Cabral

10221 PROOF of Claim Form For Summary Execution Victims by Elena Mabansag by Pacita A.
Cabral
20222) PROOF of Claim Form For Summary Execution Victims by Emelita Mabansag by Pacita
A. Cabral
10223) PROOF of Claim Form For Summary Execution Victims by Mario Mabansag by Pacita A.
: Cabral
10224 | PROOF of Claim Form For Summary Execution Victims by Vedasto Abarquez by Monice
: Abarquez
10225 PROOF of Claim Form For Summary Execution Victims by Andresito N. Ladyao ky Anito
: : N. Ladyao
10226 PROOF of Claim Form For Summary Execution Victims by Loguialo Maliga and Lubaya
Maliga by Fatima Maliga
10227 © PROOF of Claim Form For Summary Execution Victims by Norbito 0. Mabag by Emeliano
: Delmonte
10228 PROOF of Claim Form Fer Summary Execution Victims by Denoy Abigan by Norma Abigan
10229 PROOF of Claim Form For Summary Execution Victims by Rogelio Abegonia by Lorna
Abegonia
10230 | PROOF of Claim Form For Summary Execution Victims by Fedireco Lenolono by Manuel
B. Lonolono

29 10231 ! PROOF of Claim Ferm For Torture Victims by Pablo K. Botor, Deceased by Celeste
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Jul 1 10232 | PROOF of Claim Form For Summary Execution Victims by Lourdes H. Mabilanyan by Rosprio
M. Dabuet

10233 | PROOF of Claim Form For Summary Execution Victims by Cipriano 0. Mabilanyan by
Rosario M. Dabuet

2 10234 | PROOF of Claim Form For Summary Execution Victima by Vicinte R. Maistre by
Merylen Maestre

10235 | PROOF of Claim Form For Summary Execution Victims by Albert Vicente, Jamie Vicent
and Julian Vicente by Albert Vicente

10236 | PROOF of Claim Form for Torture Victims by Santos Pondivida by Jouito R. Pondivid
10237 ; PROOF of Claim Form for Torture Victims by Pablo Cantorne by Pablo Cantorne

LO238 | PROOF of Claim Form for Torture Victims by Danilo Pondivida by Danilo Pondivida
10239 | PROOF of Claim Form for Torture Victims by Catalina Pondivida by Gloria Pondivida

1O240 | PROOF of Claim Form for Torture Victims by Isagani Pondivida by Isagani P. Pondivid
10241 | PROOF of Claim Form for Torture Victims by Julieta Recalde Pondivida by
Julieta Recalde Pondivida

LO242 ; PROOF of Claim Form for Torture Victims by Pablo Palerme by Gloria Pondivida

6 TRANSCRIPT ~ ORIGINAL - 4/29/99 (Terrence Chun)
? 10243 | PROOF of Claim Form for Torture Victims by Norma Fruto by Norma Fruto
10244 (PROOF of Claim Form for Torture Victims by Shirley Pondivida Robella by Marvin

Robella (Asawa)
10245 | PROOF of Claim Ferm for Torture Victims by Fedirico E. Ramento by Sulpicio P,

Ramento
10246 | PROOF of Claim Form for Torture Victims by Miguel I. Lana by Miguel I. Lana

See Page 336

Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed01/01/03 Page 16 of 25

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND ©. MARCOS HUMAN RIGHTS LITIGATION

CEFENDANT

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pace 3360r PAGES

DATE NR. PROCEEDINGS
1999
Jub 8 (10247) PROOF of Claim Form for Torture Victims by Tomas Be Los Santos by Tomas De Los
Santos
16248] PROOF of Claim Form for Torture Victims by Armando A. Barrios by Armando Barrias
10249) PROGF of Claim Form for Summary Execution Victims by Amado B. Pomida by Lolita M
Pomida
12 |1025G| PROOF of Claim Form for Torture Victims by Ciriaco C. Cantila by Ernesto A.
Cantila
10251! PROOF of Claim Form for Torture Victims by Marites Arevalo by Marites C. Arevalo
10252{ PROOF of Claim Form for Torture Victims by Lionora Adoptante hy Lionera Adoptante
£40253 PROOF of Claim Form for Torture Victims by Marlyn A. Rivarez by Marlyn A. Rivared
19254 | NOTICE - Order to Show Cause Re Contempt of Court - Date & Time: 3/30/99 at
9:06 a.m. before the Honorable Manuel L. Real, United States District Judge
Place: As Designated - United States Courthouse Bldg. (cc: all parties)
15 /10255) PROOF of Claim Form for Torture Victims by Billy M. Montecillo by Billy 4M.
Montecillo
19 /10256| LETTER re Torture from Cesario H. Abrenica
10257! LETTER re Torture from Jose Mill Ambas
19258! PROOF of Claim for Torture Victims by Alejandro Carpeso by Alejandro N. Carpdso
20 '10259] PROOF of Claim for Torture Victims by Josephin M. Saraguilla by Josephine M.
Saraguilla
23 $10260| PROOF of Claim Form for Torture Victims by Domingo Fortes by Domingo Fortes
10261] PROOF of Claim Form for Torture Victims by Elias Abando by Elias Abando
10262! PROOF of Glaim Form for Torture Victims by Domingo Galosmo by Emerenciana Vda De
Galosmo
26 16263: PROOF of Claim Form for Torture Victims by Edilberto R. DeTablan by Edilberto R.
BeTablan
27 (10264; PROOF of Claim Form for Torture Victims by Elpedia G. Cabatingan by Elpedia G.
Cabatingan
10265; PROOF of Claim Form for Disappearance Victims by Bgu Bog Pao Juabong Samar by
Violita Gabane
/10266| PROOF of Claim Form for Disappearance Victims by Pirmen Gabane by Violita
Gabane
10267) AMENDED NOTICE ~ Order to Show Cause Re: Contempt of Court ~ Bate & Time: 8/30/94
at 9:00 a.m. before the Honorable Manuel L. Real, United States District
Judge; Please NOTE: The Notice of Hearing Issued on 7/12/99 included the
Wrong materials; Enclosed is the Documentation Relating to the Order to
Show Cause Re: Contempt of Court; Place: As Designated ~ United States
Courthouse Building (ce: all parties}
29 /102681 PROOF of Claim Form For Terture Victims by Marciano Tiangha Araneta by Edna P.
Araneta
16269) proor of Claim Form for Torture, Summary Execution and Disappearance Victims by
Jose BR. Nacu, M.S. by fose EK, Nacu
30 110270] PROOF of Claim Form for Summary Execution Victims by Balodoy Andres by Balodoy
Andres
10271; PROOF of Claim form for Torture Victims by Rosita Andres {wife of victim) by
Rosita Andres
See Page 337

Case 1:03-cv-11111-BKW-KJM Document 1-13

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IN RE: ESTATE OF FERDINAND E. MARCOS . HUMAN RIGHTS LITIGATION _ DOCKET NO, MDL B40
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PROCEEDINGS
Aug 2 | TRANSCRIPT -— ORIGINAL - 10/07/91 (Stephen B. Platt)
4 10272) PROOF of Claim Form For Summary Execution Victims by Tranquilino Vivas Papalid by
: by Simplicia P. Nesurida
6 (10273) PROOF of Claim Form For Torture Victims by Eustaquio Q. Agatlao by Eustaquio 0.
Agatlao .
10274 PROOF of Claim Form For Torture Victims by Brnesto B. Cabales by Ernesto B,
Cabales
9 :10275. PROOF of Claim Form For Torture Victims by Feliciana E. deTablan by Feliciana
: : R. defablan
10:10276: PROOF of Claim Form For Torture Victims by Romeo M. Jimenez by Mrs. Helena 3.
: . Jimenez
10277, PROOF of Claim Form For Summary Execution Victims by Cristita B. Cabalea by Jose
L. Cabales
10278; PROOF of Claim Form For Disappearance Victims by Edoc Tormis by Julian Sandorso
12 10279: PROOF of Claim Form For Summary Execution Victims by Gaudenoic Saivan by Lilia s.
Oderio
16 10280 | PROOF of Claim Form For Torture Victims by Ernestc Orendain Granada {deceased} by
i Villa Granada~De Guia
17 110281 PROOF of Claim Form For Torture Victims by Gregoria P. Batugon by Gregoria Batugo
10282, PROOF of Claim Form For Torture Victims by Olimpio P. Batugon by Olimpic P. Batug
1@ 16283) Minutes re Status Conference [from Central District of California]; Status
i Conference held and hearing set for August 30, 1999 is taken off calendar;
Attorneys present for pltfs: Robert Swift; Attorneys present for defts:
James Linn, John Bartko, Birch Bayh; also present: Special Master Sol Schre
{Crt reporter: not present)
36, LETTER ~ Received from James L. Branham, Chief Clerk at Supreme Court - State of
Hawaii RE Letter received from Mr. Louis A, Gutierrez of Bo. Dumantay, Batangas
| City 4200, Philippines - Informing all Justices & Judge that Mr. Luis A.
i Gutierrez is related to President Ferdinand £. Marcos
31 10284 PROOF of Claim For Summary Execution Victims by Usman Pinagunay by Meriam Balao
ampas
10285 PROOF of Claim For Summary Execution Victims by Melicio De La Crue by Corazon De
rue
10286 | PROOF of Claim for Suumary Execution Victims by Edgardo Gil M. Jopson by Gloria AL
Jopson
Sept 10 10287 | PROOF of Claim for Form For Torture Victims by Menguin Rosario by Menguin Rosario
LO 10288| PROOF of Claim for Form For Torture Victims by Pacita D. Cobitan by Pacita Bb.
: Cobitan . .
13 10289! NOTICE Pursuant to California Rule of Court 995{b) and Designation of Counsel
of Record ~ on behalf certian Individual Pits
17 : £0290! PROOF of Claim form for Torture Victims by duliteo Abainza
[10291 PROOF of Claim form for Torture Victims by Ederlinda Chavez
232 (10292) PROOF of Claim Form for Summary Execution Victims by Borgos R. Sagayap
110293 | PROOF of Claim Form for Summary Execution Victims by Dionicio R. Lia& o
see page 338

Case 1:03-cv-11111- DKW- KJM Document 1-13  Filed01/01/03_ Page 18 of 25

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

CEFENDANT

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IN RE: ESTATE OF FERDINAND E. | MARCOS HUMAN RIGHTS LITIGATION
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NOTICE of motion and motion for protective order prohibiting plaintiffs from
depesing Ferdinand R. Marcos and Imelda R. Marcos on September 28, 1999 -
referred to Honorable Manuel L. Real

MEMORANDUM of points and authorities in support of Imelda R. Marcos’ and
Ferdinand R. Marcos' Motion for pretective order prohibiting plaintiff's
from conducting depositions on September 28, 1999 ~ referred to Honorable
Manuel L. Real

DECLARATION: of (John .FT+Bartko in support cof“ Motion< for“ Pretective.Order
prohibiting plaintiff's from deposing Ferdinand R. Marcos and Imelda R.
Marcos on September 2&, 1999 ~- referred to Honorable Manuel LL. Real

PROOF of Claim Form for Terture Victims by Marichnu C. Antonio-Tobis
nka Marichy Antonio

PROOF cf Claim Form for Torture Victims ~ Maria ¥. Cobitan by Florentino Cobitan

PROOF of Claim Form for Summary Execution Victims by Cesar Raya Aquino and
Amerita DBD. Aquine by Anita Dagpin Aquino

PROOF of Claim Form for forture Victims by Rodrigo A. Galamgam

PROOF of Claim Form for Torture Victims by Romulo CC. Ocampo

LETTER - Received from Commission on Human Rights, Attorney Emerico D. Buenaseda
RE: Romula ¢C. Ocampo, Herminio P. Batongbakal and Rodrigo A. Galamgam
submitting Proof of Claim for Torture Victims
Note: Proof of Claim for Herminio P. Batongbakal not received

ORDER returning Contempt hearing to active calendar - set for 11/22/99 @9:00am
before Honorable Manuel L. Real ~ MANUEL L. REAL

ORDER Regarding travel MANUEL L. REAL

PROOF of Claim Form for Torture Victims by Arcangel A. Azucena

PROOF of Claim Ferm for Torture victims by Juanito Caungsod ¥. Jontilano

PROOF of Claim Form for Torture Victims by Enriquita Gaungsod

PROOF of Claim Form for Torture Victims by Paquito Yturalde

PROOF of Claim Form for Torture Victims by Crispulo Suclan

PROOF of Claim Form for Terture Victims by Romeo E. Lomugdang

PROOF of Claim Form for Torture Victims by Florencio C. Anecito

PROOF of Claim Form for Torture Victims by Leoteria J. Caungsod

PROOF of Claim Form for Torture Victims by Cresencio B. Diese

PROOF of Claim Form for Torture Victims by Moises Antoine Soelidum II by Corazon
¥. Solidum

PROOF of Claim Form for Torture Victims by Rudy Ebon Ambong by Restituta E. Ambo

PROOF of Claim Form for Torture Victims by Salatiel C. Sardina

PROOF of Claim Form for Torture Victims by Banjamin Mariano

PROOF of Claim Form for Torture Victims by Edgardo*R? Ga&ié, Dolores by
Maribeth 0. Galo

PROOF of Claim Form for Torture Victims by Herminio P. Batongbacal (see letter
dated September 13, 1999, received USDC October 6, 1999}

PROOF OF Claim Form for Torture Victims by Alex C. Castigader

ORDER on the Contempt Hearing MANUEL L. REAL
ordered that a hrng will be held on 2/14/2000 € 16:00 fer the
Philippine govt; the Marcos estate & the pitf class counsel to show cause
why the settlement agreement should not now be voided
The contempt hrng pending hefore the Court is now set for 2/28/2000 4 10 am
ORDER 9CCA ~ appellant Celsa Hilao has failed to perfect the appeal; appeal is
DISMISSED for failure to comply with the rules requiring precesaing the
appeal to hrng (ec: all counsel)
+a + bP, Page 339

**eR see next

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Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed‘Q1/01/03 Page 19 of 25

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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PROCEEDINGS

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DATE NR.
2000
Jan 20 10322 PROOF of Claim Form for Summary Execution Victims by Hussain Sapal Pangato by
Hadji noor Manampan
Feb i 10323! PROOF of Claim Form for Disappearance Victims by Undag Untong by Sadia Daud
Untong
3 10324 EQ: ORDER to show cause why settlemant agreement should not ve voided
presently set for 2/14/2000 contd to 2/28/2000 @ 10:00 am (MLR) in the
U.S. Courthouse Bldg. 300 Ala Moana Bivd., Honelulu, Hawaii. The Contempt
Hrng is also set to ve heard on 2/28/2000.
ec: Robert A. Swift, Sherry Broder, James P. Linn, B.J. Rothbaum, Lex
Smith and John ¢. Bartko
BO: Contempt hearing and Order to Show Cause why settlement agreement should not

23 A325 |

Mar 2 10326 | EP: Contempt hearing and Order to Show Cause why settlement agreement should

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be voided presently set for hearing on 02/28/2000 continued to 03/02/00
@i0:00a.m. before Judge Manuel L. Real; this hearing will be held at the
U.S. Courthouse Bldg in Honolulu, HI - ce: all counsel

not be voided; discussion held among this court and counsel in Judge's
chambers; this matter is hereby continued to 4/24/00 610:GOam before
this court MANUEL L. REAL

ORDER to Facilitate Transfer of Settlement Funds MANUEL L. REAL

PROOF of Claim Form for Torture Victims by Luis Gabriel by Magdalena Infiel

Gabriel, wife
PROOF of Claim For for Torture Victims by Juan P. Lumanog, Jr.

PROOF of Claim Form for Torture Victims by Oscar A, Reyes

NOTICE of Change of Firm Name and Address: Randall H. Scarlett, Scarlett Law Group,

857 Montgomery Street, 3rd Floor, San Francisco, CA 94133; Telephone

(415)352-6264; Facsimile (415) 352-6265

PROOF of Claim Form for Torture Victims by Lino M. Villarin

PROOF of Claim Form for Summary Execution Victims by Fernando H. Flores for
Ferdinand Gatpolintan Flores

BO: Continued Hearing RE-CONTEMPT HEARING as to an Order to Show Cause Why
Settlement Agreement Should Not Be Voided set for 4/24/00 continued to
6-5-00 @10:00a.m. before Judge Manuel Real. This hearing will take place

at the U.S. Courthouse Bldg., 300 Ala Moana Bivd., located in Honolulu, Ht

ce: All counsel of Record i

MOTION To TERMINATE SETTLEMENT AGREEMENT ~- cc: Judge Manuel Real
MANIFESTATION
BO: The contempt hearing on Mrs. Marcos and her son, Ferdinand R. Marcos, Jr.
(Bong-Bong) is placed back on the calendar fer June 5, 2000 @10:00a.m.
before Judge Manuel L. Real; this hearing will take place at the U.S. Courthous
Bldg. at 300 Ala Moana Bivd in Honolulu, Hawaii ce: ali counsel of record

EQ: Continued hearing re: contempt hearing as to an Order to Show Cause
Why Settlement Agreement should not be voided and Contempt Hearing
as te Mr. Marcos and Perdinand R. Marcos, Jr. (Bong-Bong) are now all set
for Monday, July 17, 2000 @ 10:00 a.m. before Judge Manuel Real.
Please Note: Mr. Schreiber has notified all counsel of this continued
hearing date MANUEL L. REAL

SEE PAGE 340

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Case 1:03-cv-11111-DKW-KJM Document 1-13  Filed,@1/01/03 Page 20 of 25

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND EF. MARCOS HUMAN RIGHTS LITIGATION

DEFENDANT
DOCKET NO, MDL 840

PAGE 3495 PAGES

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Plaintiff Class‘ Response te Motion of Class Members Colemares and Oebanda
Motion to Terminate the Settlement Agreement; certificate of service -
Referred to Judge Manuel R. Real

Letter Complaint from Anenita $. Cabrillos wife of Oscar Cabrillos ~ victim of
violent crime

ORDER cof approval of Data Entry Service Agreement MANUEL Bh. REAL

Proof of Claim for Torture Victim for Greqorio Cabivat by Rogelio Cabiyat

Notice of Attorney's Lien (Melvin M. Belli, M. Caesar Belii)

EP: Status conference held on 6/26/2000 at CD of CA
Defendant's move for a continuance of the Contempt Hearing now set to be
heard in the District of Hawaii on July 17, 2000 at 10:00a.m.. The court

denies the Motion; the Hearing will Peoperet teBfang,eeRy<? MANUEL Gi. RRAL

Memorandum in support of plaintiff's Motion PSE SuppleméAtal Relief for Civil

~ Contempt against Imeida Marcos and Ferdinand R. Marcos

BP: Various Motions
L.Plaintiff Class Motion to Terminate the Settlement Agreament, oral
arguments held; motion to terminate settlement agreement as to Agapito
Trajanc GRANTED; the motion as to plaintiff Gass is continued for hearing
on 9/11/2000 at 10:00am.

2. Motion for Supplemental Relief for Contempt is continued for hearing on
9/11/2000 at 10:00 a.m.

3. Motion of Imelda Marcos and Ferdinand R. Marcos dr. for a Protective
Order, DENIED; Motion to Take Posttrial Discovery, GRANTED; Court hereby
orders that Imelda Marcos, Ferdinand R. Marcos, Jr. and Imee Marcos~Manotoc
shall appear for deposition at the United States Courthouse in Loa Angeles
California on dates mutually agreeable to counsel but no later than #/24/200
Oral motion to increase payment to $12,000.00 regarding the Data Base as to
the Claim forms, GRANTED. {Terrence Chun, CR} MANUEL L. REAL

Order + (Re: Hearing on July 17, 2000} - ce: Sherry Broder MANUEL R. REAL

Order - (Re: hearing on July 17, 2000) Motion to Terminate the Settlement
Agreement as to Agapito Trajano is GRANTED without prejudice to a Motion
to Reinstate should the settlement be completed prior to 9/1/2000

MANUEL L. REAL

ORDER Granting approval of Revised Bata Entry Service Agreement MANURL b. REAL

Proof of Claim Form for Summary Exceution Victims by Abraham Cadayday (Moises)

Letter from Pacita Vieda de Astillo for Husband Col. Quinterro X. Astillo

TRANSCRIPT OF PROCEEDING ~- Original - Terrence Chun taken on 7/17/2000

Proof of Claim form fer Torture Victims for Ronie Namales

ORDER - re: Execution on the Judgment: ["There having been public disclosure of
multi-million dollar assets of Arelma, Inc., a Panamanian corporation,
at Merrill Lynch Cash Management; and it being alleged that the assets of
Areima, Inc. may belong beneficially to the defendant Estate of Ferdinand
E. Marcos; and it appearing the the Judgment of 02/03/95 has not been
satisfied and the settlement agreement of February 1999 has not been
funded; accordingly the Court sua sponte authorizes plaintiffs Class
Counsel to initiate appropirate legal action to collect the above
assets to satisfy the obligations of the defendant Estate to the Plaintiff
Class notwithstanding anything in the Court's Judgment of
April 29, 199 to the contrary."] MANUEL L.. REAL,

“SEE PAGE 341.

Case 1:03-cv-11111-DKW-KJM Document 1-13 Filed-01/01/03 Page 21 of 25

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Civil, DOCKET CONTINUATION SHEET
PLAINTIFF DEPENDANT

| DOCKET NG. MDL_840.
IN RE: ESTATE OF FERDINAND £&. MARCOS HUMAN RIGHTS LITIGATION

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PROCEEDINGS
Sept 8 10354 gO:

Plaintiff Class Motion to Terminate Settlement Agreement and Motion for
Supplemental Relief for Contempt set for hearing on 09-11-2000 are hereby
vacated; This hearing will take place in the Central District of Californ
before Judge Real

12 10355) ORDER re Deposition of Merrill Lynch Asset Management, LP MANUEY, L. REAL
ce: all counsel

13 10356 ORDER - SEALED BY ORDER oF THE COURT

MANUEL I. REAT,
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Rare een TR

(10357) MINUTE ORDER UNDER SEAL ~ held 9/11/00 in the C.D. of CA
: . . (Walter Ledge)
14 16358 Letter Complaint from Fidela J. Berjuel

MANGEL L. REAL
4 spouse of em
Andres B. Berjuela ~ victim of violent crime

Case 1:03-cv-11111-DKW-KJM Document 1-13 Filed 01/01/03

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Page 22 of 25
PagelD.105

CIVIL DOCKET CONTINUATION SHEET

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TH RE: ESTATE OF PERDIWAND E. MARCOS: HUMAN RIGHTS LITIGATION 342

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Pec 13 10365 LETTER from Romeo 0. Dorutan addressed te attorney Rodrigo c. Domingo, Jr,
Filipino co-counsel/LPL Center Unit 13-8 130 Alfaro Street, Salcedo Village

Makati City; re: Mr. Dorutan references letters LOWEKS# and 3/26/99

2001
Jan i (19366 ORDER TERMINATING THE SETTLMENT AGREEMENT MANUEL |. REAL
16 |10367! PROOF of Claim Form for Torture Victims by Jose A. Curaza, Sr.
24 10368 | ORDER TERMINATING THE SETTLEMENT AGREEMERT MANUEL L. REAL
is 10369; LETTER from Pedro M. Tabor, Claimant addressed to Honorable Judge Manuel Real
Mar 6 103791 PROOF of Claim Form for Torture Victims by Teodorico &. Ramento
i937] | PROOF of Claim Form fer Torture Victims by Feliza Garcia Rivarez
10372] PROOP of Claim Form for Torture Victims by Mariyn A. Rivarez
|10373; PROOF of Claim Form for Torture Victims by Marites C. Arevalo
13 |10374| PROOF of Claim Form for Torture Victims by Susana R. Palermo
10375| PROOF of Claim Form for Torture Victims by Climpio P. Batugon
10376) PROOF of Claim Form for Torture Victims bv Maria ¥, Batugon
20377} PROOF of Claim Form for Torture Victims by Remondo S$, Paz
10378] PROOF of Claim Form for Torture Victims by Crisencia F. Evangelista
10379; PROOF of Claim Form for Torture Victims by Grecoria P. Batugon
PLO3RO| PROOF of Claim Form foF Torture Victims by Porfirio Pp. Batucon
Apr Z ! TRANSCRIPT OF PROCEEDINGS ~- Terrence Chun ~ LL/2a foo
SECOND Memorandum in support of plaintiff's motion for supplemental

velief for civil contempt aqainst Imelda Marcas and Ferdinand
R. Marcos - bv defts

Jul 12 §10382 ORDER Regarding Travel by Imelda R. Marcos When in the United States

MANUEL L.. REAL

Application of Imelda R. Marcos for Suspension of Contempt Orders;
Certificate of Service

Plaintiffs' Motion to Order the execution of waivers of foreidn
banking privilege; declaration of Robert A. Swift: memorandum in
support of plaintiffs’ motion to order the execution of waivers of
foreign banking privilege; certificate of service (SEALED)

Plaintiff's Reply Memorandum to Defendants Marcosses' Memorandum in
Opposition to Plaintiffs' Motion to Order the Execution of
Waivers of Foreign Banking Privilege; certificate of service

Proof of Claim Ferm for Torture Victims by Violeta A. Calpito

EG: Plaintiffs’ Metion to order the Execution of Waivers of Foreign Banking
Privilege that was filed on July 16, 2061 will be set for hearing on
Monday, September 24, 2001 @ 10:00 am. before Judge Real. This heari

. . n
mit ake place at the U.S, Courthouse Bldg in Honelulu, Hawaii. the 9
saan in Opposition to this Motion is to be filed by September
2001. All R itd
' eply Memorandum to the Opposition shali be filed by

September 17, 2001
~ see nest nae _ MANUEL L,. RERT,

MDL &40

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Case 1:03-cv-11111- DKW- KJM Document1-13  Filed:01/01/03 Page 23 of 25
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IN RE: ESTATE OF FERDINAND E. MARCOS: HUMAN RIGHTS LITIGATION EIR ND renee
PAGE 3435, PAGES
DATE NR PROCEEDINGS
2001

Sep 12 :10388 doinder in Opposition to Plaintiffs’ Motion to ordar the Execution of Waivers
: of Foreign Banking Privilege by Ferdinand R, Marcos

24 10389 ° EP: Plaintiffs' motion to order the execution of foreign banking privilege.
The Court hears arguments of counsel. The Court takes the matter under
Submission. A further telephonic hearing on the matter is set for
October 25, 2001 at 16:00 a.m. The Court will hear further arguments and
will rule on the submitted matter at that time. MANUEL L. REAL

Oct 19 10390 EQ: Plaintiffs’ Motion to order the Execution of Foreign Banking Privilege
presently set for Telephone Conference on October 25, 2001 is hereby
continued to October 29, 2001 @ 10:30 a.m. before Judge Real. This
hearing to take place in Honolulu, Hawaii at the U.S. Courthouse Building
cc: all counsel of record; local counsel was called regarding this change
in hearing. MANUEL L. REAL

29 10391 EP: Continued Hearing on Motion to Order the Execution of Foreign Banking
: Privilege Court will grant the Motion. As to each of the Respondents
they will need to execute a Waiver on or before November 15, 2061.
A hearing will be set on November 26, 2001 4 16:00 a.m. as to a Motion
for Civil Contempt if the Waivers have not been executed. MANUEL L. REAL

Nov 8&8 _ 10392: GO: Motion for Civil Contempt and Compliance with Court's order of October 29,
: 2001 set for 11/26/2001 continued to 11/27/2CGG1 @ 10:00 a.m. All counsel
notified by Memorandum from Sel Schreiber dated 11/1/01 by MANUEL REAL

21 10393" EO: Motion for Civil Contempt and Compliance with Court's order of October 29,
2001 set for h earing on November 27, 2901, is hereby continued to
December 6, 2001 at 10:00 a.m. before Judge Real. The hearing will take

place at the Courthouse Building in Honolulu, Hawaii. (eo: all counsel
of record) MAHUEL L. RRA

300 10394 EQ; Motion for Civil Contempt and Compliance with Court's order of October 23,
2001 set for Hearing on December 06, 2001 ia hereby continued to
December 20, 2001 @ 9:00 a.m. before Judge manuel Real. The hearing will
take place at U.S. Courthouse Bldg in Honolulu, Hawaii MANUEL L. RRA

Pec 4 ' 10395 ORDER for the execution of waivers of Poreign Banking Privilege
: MANUEL L. REAI
27 10396 Proof of Claim for Torture Victim by Arsenio Ambion for Geremias Ambion and
Rodito Ambion

Decals j.0397 EQ: Motion for Civil Contempt and Compliance with Court's Order ~~
October 29, 2001 set for hearing on December 20. 2061 is he.
caken off and will be reset at a later date by MANUEL L. REALL

2902
Mar 8 140398 | Proof of Claim Form For Torture Victims by Pabio Ss. sanchez

Case 1:03-cv-11111- DIW- KJM Document 1-13 Filed 01/01/03 Page 24 of 25

PagelD.107
1 LIA
Rev. 1/75)
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

os pocket No, MDL 840

IN RE: ESTATE OF FERDINAND E. MARCOS: HUMAN RIGHTS ‘LITIGATION
PAGE 34455 cena nnn PAGES

DATE NR.

PROCEEDINGS

pr 26 10399

Yov 14 + 10400

25 Lo401

Dac 26 | 10402

Jan 23 10403

Jul 8 10404

28 10405

Sep 2 10406

10407
2 10408
2 10409

EO: Trail exhibits were returned to Plaintiff's counsel Sherry
Broder

Proof of Claim Form for Summary Execution Victims -
Domingo S. Canete

Letter from Anacita P. Palermo

Order Regaring Travel by Imelda R. Marcos When in the United States

REFER TO AUTOMATED DOCKET SHEE? ¢v.03-tuU MANUEL L. REAL

Notice of Change of Address of Jose ¥. Lauchengco, Jr.
3545 Wilshire Blvd, Suite 355
Los Angeles, CA 90010
(213) 380-9897

Proof of Claim Form For Summary Execution Victims <
Saranga A. Masandag

Proof of Claim Form for Torture Victims - Anacita R. Palermo
Proof of Claim Form for Torture Victims - Bienvenido P. Ricamara

Proof of Claim Form for Torture Victims ~- Ponciano P. Ricamara

MEMORANDUM AND ORDER (facsimile):[Court determines it shall Bean
reinstate the compromise judgment and settlement, dated April 29, 1999.
In this way, the Court gives effect to a settlement once agreed upon,
only to be reneged by the Republic of Philippines.... "In order to
insure compliance with this.Court's order and judgment, plaintiffs’
counsel is directed to immediately serve notice of this order and
decision and the accompanying Notice to Insure Compliance, as well
as a copy of the injunction on all depository institutions in Singapore
and Switzerland, past and present, and counsel for the Republic
in the related proceeding pending in this
Court, as well as the Swiss government." (cc: all counsel via FAX}
MANUEL LL. REAL
ORDER DIRECTING COMPLIANCE Lae. "The Court's Special Master has brought
ax) to the Court's attention that there is an ifminent threat that
monies transferred from Swiss banks to Singapore, pursuant to a
‘certain escrow agreement' identified in Memorandum Opinion filed
herewith, may be released by the banking officials pursuant to
claims filed by the Philippine commission on good Government.
Those claims have recently resulted in a decision by the Philippine
Supreme Court which purports to adjudicate that such funds constitute
ill gotten gain acquired by the former Philippine President while
in public office. A review of the opinion by the Philippine Supreme
Court indicates there has been no evidence presented to support

of such a determination as required by the lower court judqment,
the Philippine Supreme Court claims to review. It is clear that
such an adjudication violates any elementary international sense

of due process."

-SEE NEXT PAGE, Page 345-

Case 1:03-cv-11111-DKW-KJM Document 1-13 Filed 94/01/03 Page 25 of 25

PagelD.108
BC LilA
(Rev, 1/75)
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS: HUMAN RIGHTS LITIGATION |

GEFENODANT
MDL 840
DOCKET NO. em

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PROCEEDINGS

2003
Sept 2 ---*

29 10410
Oct 2 190411
10412

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CONTINUATION of document no. 10409:

"TT TS HEREBY ORDERED that any such transfer, without first appearing and
showing cause in this Court as to how such transfer might cecur without violatir
the Court's injunction shall be considered contempt of the Court's earlier
order. Any and all persons and banking institutions participating in such
transfers, including but not limited to the Swiss banks, which were the origina:
depository institutions and the depository institutions where the money is
currently invested, are hereby notified that such transfer would be considered
in contempt of this Court's injunction and the Court will have no alternative
but to refer the matter to the United States Attorney for consideration since
the factual circumstances are remarkably similar te those which led to the
indictment and extradition to stand trial in the Southern District of New

York in 1990 of Adnan Kashoggi for obstruction of justice.* (cc: all counsel

via FAX) MANUEL L. REAL

Application of Imelda R. Marco for Suspension of Contempt Orders
Certificate of Service re: Notice of Appeal
Notice of Appeal [9CCA 03-16934]

Order Regarding Travel by Imelda R. Marcos when in the United States
MANUEL L. REAL

AMENDED Order Regarding Tmvel by Imelda R. Marcos when in the United States
(ce: all counsel} MANUEL L. REAL

Letter from BIENVENIDO BP. RICAMARA -— REQUEST FOR DEPOSIT OF MONIES into
certain bank account

APPEAL NUMBER 03-16934 re appeal filed 10-02-03/doc 10412

